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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/SNOW

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

  Plaintiff

  v.

  CIRCUITRONIX, LLC,

  Defendant
  ____________________________________/


                   MOTION TO RESTORE CASE TO ACTIVE CALENDAR

          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. hereby requests that this case be

  restored to the active calendar, and that motions that were pending at the time this case was marked

  off calendar be restored. Benlida further requests that the Court grant such other and further relief

  as it may deem just. In support of this motion, plaintiff Benlida states as follows:

          1.     Subject to the parties reaching an agreement as to the terms of their ongoing

  business relationship, and entering into a new contract, the parties agreed to settle this case during

  a mediation held on June 1, 2022, with mediator Hon. Joseph P. Farina. (DE 80-81). Unfortunately,

  the parties have not reached a final resolution of the outstanding issues.

          2.     While the parties have an on-going business relationship, the terms that remain

  unresolved, in sum, involve an acceptable pricing structure that would extend beyond the near

  term, and extend several years hence.




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         3.       Owing to the unpredictability of the pricing in the future, and due to the volatility

  of the market, the parties have not reached a meeting of the minds, and Benlida respectfully

  requests that the case be restored to the active calendar.

         4.       Presently before the Court is a motion that was interposed on September 7, 2022

  (DE 90), requesting a further two-week extension of time, in order that the parties could continue

  negotiating a resolution of the case. However, as the parties have not yet reached a meeting of the

  minds, and as the court has not yet decided that motion, it is respectfully requested that the

  September 9th motion (DE 90) be deemed moot, and that this case be restored to active status, and

  that the following motions be taken up and decided:

              •   Defendant Circuitronix’s motion for Issuance of Letter Request to Obtain Evidence

                  Abroad (DE 64).

              •   Defendant Circuitronix’s motion to compel Benlida witnesses to appear in person

                  for depositions in the Southern District of Florida (DE 66).

              •   Plaintiff Benlida’s cross-motion for a protective order to permit its China-domiciled

                  witnesses to be deposed via Zoom or the like (DE 67).

                                            CONCLUSION

         Accordingly, the Benlida respectfully requests that the Court grant this motion and restore

  this case to the active calendar. Benlida further requests that the Court grant such other and further

  relief as it may deem just.




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                CERTIFICATION REGARDING PRE-FILING CONFERENCE

         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for Benlida certifies that we have

  conferred with counsel for defendant Circuitronix in a good faith effort to reach agreement on the

  issues raised in this motion, and we have been unable to do so. It is Circuitronix’s position, which

  we expect it shall brief to the Court, that there is an enforceable settlement agreement. Circuitronix

  further advises, however, that it would not oppose the Court granting an additional period, not to

  exceed 21 days, to complete settlement negotiations.



  Dated: September 21, 2022                                     Respectfully submitted,


                                                         MAZZOLA LINDSTROM LLP
                                                         Attorneys for Plaintiff Benlida

                                                         By: /s/ Jean-Claude Mazzola
                                                         Jean-Claude Mazzola
                                                         1350 Avenue of the Americas, 2nd Floor
                                                         New York, NY 10019
                                                         646.250.6666
                                                         jeanclaude@mazzolalindstrom.com


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic mail
  on a registered CM/ECF user on September 21, 2022.

                                                 By: /s/ Jean-Claude Mazzola
                                                         Jean-Claude Mazzola




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